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PLAINTIFFS DEFENDANTS
| SPRAGUE, John COOK, Aileen E.
SOUGSTAD, Steven
CAUSE
(CITE THE U.S. CIVIL STATUTE UNDER WHICH THE CASE
IS FILED AND WRITE A BRIEF STATEMENT OF CAUSE)
28 USC 1332 Personal Injury
ATTORNEYS
y Scott G. Hoy . Barbara Anderson Lewis
~ Carlsen, Carter, Hoy & Eirinberg _4 Woods, Fuller, Shultz & Smith
"101 South Main, Fifth Floor \*? 310 South First Avenue
Sioux Falls, SD 57102-0572 Sioux Falls, SD 57102
334-8900 336-3890
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FILED IN
Case 4:88-cv-04195 Document1 Filed 06/02/00 Page 2 of 2 PagelD #: 2

 

DATE

NR.

PROCEEDINGS

 

 

 

 

CIV88-4195
12-19-88 ; 1 CIVIL COVER SHEET filed.
12-19-88 | 2 COMPLAINT with Demand For Jury Trial filed.
12-19-88 Issued Summons and handed three copies to Scott Hoy for service.
1989
1/11/89 | 3 NOTICE of Appearance of Barbara Anderson Lewis on behalf of the Dfdts filed.
2-2-89 4 | STIPULATION FOR Dismissal Filed
2-2-89 5 JUDGMENT of Dismissal with prejudice Filed
2-2-89

 

 

Notice of Entry and copy of Stipulation and Order mailed Scott Hoy and Barbara
Anderson Lewis

 

 
